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                                IN THE UNITED STATES DISTRICT COURT
                                    FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                           Plaintiffs,                                          8:13CR252

       vs.
                                                                              FINAL ORDER
BRICE LENHARD,

                           Defendants.


         This matter is before the court on the defendant's motion for a 35-day extension of time in which
to file pretrial motions [45]. Upon review of the file, the court finds that a 14-day extension should be
granted.

     IT IS ORDERED that the MOTION FOR ENLARGEMENT OF TIME TO FILE PRETRIAL
MOTIONS [45] is granted, in part, as follows:

           1.      The deadline for filing pretrial motions is extended to January 17, 2014.

           2.      Defendant is ordered to file a waiver of speedy trial as soon as practicable.

        3.      In accordance with 18 U.S.C. § 3161(h)(8)(A), the court finds that the ends of justice will
be served by granting this motion and outweigh the interests of the public and the defendant in a speedy
trial. Any additional time arising as a result of the granting of this motion, that is, the time between
January 3, 2014 and January 17, 2014, shall be deemed excludable time in any computation of time under
the requirement of the Speedy Trial Act for the reason that counsel require additional time to adequately
prepare the case, taking into consideration due diligence of counsel and the novelty and complexity of this
case. The failure to grant additional time might result in a miscarriage of justice. 18 U.S.C. §
3161(h)(8)(A) & (B)(iv).

           4.      This is the final extension of time to file Pretrial Motions. No further extensions will be
granted.


           Dated this 6th day of January, 2014.

                                                             BY THE COURT:

                                                             s/ F.A. Gossett, III
                                                             United States Magistrate Judge
